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               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLI


UNITED STATES OF AMERICA

                v.

KEVIN ANTHONY FREEMAN                             1:18CR , ~l1 -1
JUSTIN LAMAR BECK                                 1:18CR (JIC( -2
TIMOTHY TEAL PEARSON, II                          1:18CR-1tl-3
KYLE EUGENE SANDERS                               1: 18CR(Qlf_4


                           The Grand Jury charges:

                                  COUNT ONE

     From in or about 2014, continuing up to and including the present, the

exact dates to the Grand Jurors unknown, in the County of Richmond, in the

Middle District of North Carolina, and elsewhere, KEVIN ANTHONY

FREEMAN, JUSTIN LAMAR BECK, TIMOTHY TEAL PEARSON, II, KYLE

EUGENE SANDERS, and divers other persons, known and unknown to the

Grand Jurors, knowingly and intentionally did unlawfully conspire, combine,

confederate, and agree together and with each other to commit offenses

against the laws of the United States, that is:

      1. To knowingly, intentionally, and unlawfully distribute quantities of

a   mixture    and    substance     containing      a   detectable   amount   of

methamphetamine, a Schedule II controlled substance within the meaning of




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Title 21, United States Code, Section 812, in violation of Title 21, United

States Code, Section 841(a)(l);

       2. To knowingly, intentionally, and unlawfully manufacture quantities

of a    mixture     and   substance   containing   a     detectable   amount   of

methamphetamine, a Schedule II controlled substance within the meaning of

Title 21, United States Code, Section 812, in violation of Title 21, United

States Code, Section 841(a)(l);

       3.    To    knowingly,     intentionally,   and     unlawfully     possess

pseudoephedrine, a List I chemical as defined in Title 21, United States Code,

Section 802, knowing and having reasonable cause to believe that such listed

chemical would be used to manufacture methamphetamine, a Schedule II

controlled substance within the meaning of Title 21, United States Code,

Section 812, in a manner not authorized by Title 21, United States Code,

Chapter 13, Subchapter I, in violation of Title 21, United States Code, Section

841(c)(2); and

       4.   To knowingly, intentionally, and unlawfully possess equipment,

chemicals, products, and materials which may be used in the manufacture of

methamphetamine, a Schedule II controlled substance, within the meaning of

Title 21, United States Code, Section 812, knowing, intending, and having

reasonable cause to believe that such equipment, chemicals, products, and
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materials will be used to manufacture methamphetamine, in violation of

Title 21 , United States Code, Section 843(a)(6).

      All in violation of Title 21, United States Code, Sections 846,

841(b)(l)(C), 841(c)(2), and 843(d)(2).

                                  COUNT TWO

      On or about October 11, 2017, in the County of Richmond, in the

Middle District of North Carolina, KEVIN ANTHONY FREEMAN and KYLE

EUGENE SANDERS did knowingly, intentionally, and unlawfully possess

equipment, chemicals, products, and materials which may be used in the

manufacture of methamphetamine, a Schedule II controlled substance,

within the meaning of Title 21, United States Code, Section 812, knowing,

intending, and having reasonable cause to believe that such equipment,

chemicals,     products,   and   materials    will   be   used   to   manufacture

methamphetamine; in violation of Title 21, United States Code, Section

843(a)(6).

                                 COUNT THREE

      On or about October 18, 2017, in the County of Richmond, in the

Middle District of North Carolina, KEVIN ANTHONY FREEMAN did

knowingly, intentionally, and unlawfully possess equipment, chemicals,

products, and materials which may be used in the manufacture of
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methamphetamine, a Schedule II controlled substance, within the meaning of

Title 21, United States Code, Section 812, knowing, intending, and having

reasonable cause to believe that such equipment, chemicals, products, and

materials will be used to manufacture methamphetamine; in violation of

Title 21, United States Code, Section 843(a)(6).

                                COUNT FOUR

      On or about October 18, 2017, in the County of Richmond, in the

Middle District of North Carolina, KEVIN ANTHONY FREEMAN, in

furtherance of a drug trafficking crime for which he may be prosecuted in a

court of the United States, that is, drug conspiracy, in violation of Title 21,

United States Code, Sections 846 and 841(a)( l ), did knowingly possess a

firearm, that is, a Taurus .38 caliber handgun; in violation of Title 18, United

States Code, Section 924(c)(l)(A)(i).

                                 COUNT FIVE

      On or about November 29, 2017, in the County of Richmond, in the

Middle District of North Carolina, TIMOTHY TEAL PEARSON, II, in

furtherance of a drug trafficking crime for which he may be prosecuted in a

court of the United States, that is, drug conspiracy, in violation of Title 21,

United States Code, Sections 846 and 841(a)(l), did knowingly possess a



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short-barreled shotgun, that is, a Mossberg 12 gauge shotgun; in violation of

Title 18, United States Code, Section 924(c)(l)(B)(i).

                                  COUNT SIX

      On or about January 18, 2018, in the County of Richmond, in the

Middle District of North Carolina, KEVIN ANTHONY FREEMAN did

knowingly, intentionally, and unlawfully manufacture quantities of a mixture

and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance within the meaning of Title 21, United

States Code, Section 812; in violation of Title 21, United States Code, Section

841(a)(l) and (b)(l)(C).

                                COUNT SEVEN

      On or about January 18, 2018, in the County of Richmond, in the

Middle District of North Carolina, KEVIN ANTHONY FREEMAN did

knowingly, intentionally, and unlawfully possess equipment, chemicals,

products, and materials which may be used in the manufacture of

methamphetamine, a Schedule II controlled substance, within the meaning of

Title 21, United States Code, Section 812, knowing, intending, and having

reasonable cause to believe that such equipment, chemicals, products, and

materials will be used to manufacture methamphetamine; in violation of

Title 21, United States Code, Section 843(a)(6).

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                               COUNT EIGHT

      On or about January 18, 2018, in the County of Richmond, in the

Middle District of North Carolina, KEVIN ANTHONY FREEMAN did

knowingly and unlawfully lease, rent, use, and maintain a place, that is, a

residence located at 106 Aslington Street, Rockingham, North Carolina,

permanently and temporarily, for the purpose of manufacturing, distributing,

and using a controlled substance, that is, methamphetamine, Schedule II

controlled substance within the meaning of Title 21, United States Code,

Section 812; in violation of Title 21, United States Code, Section 856(a)(l)

and (b).

                                           DATED: February 26, 2018

                                           MATTHEW G.T. MARTIN




                                           BY: CLIFTON T. BARRETT
                                           Assistant United States Attorney

A TRUE BILL:



FOREPERSON




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